8:94-cr-00095-RGK-CRZ           Doc # 785       Filed: 02/06/09       Page 1 of 6 - Page ID # 160


                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                     Case Number 8:94cr95-003

                                                       USM Number 14337-047

MICHAEL J. CRESTONI
                 Defendant
                                                       JONATHAN M. BRAATEN

                                                       Defendant’s Attorney
___________________________________

                               JUDGMENT IN A CRIMINAL CASE
                        (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of condition(s) standard condition 8, mandatory
condition, and special condition 2 of the term of supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                             Date Violation
       Violation Number                 Nature of Violation                   Concluded


 2. (Standard Condition #8)       The defendant shall refrain from          October 30, 2008
                                  excessive use of alcohol and
                                  shall not purchase, possess,
                                  use, distribute or administer any
                                  controlled substance or any
                                  paraphernalia related to any
                                  controlled substances, except
                                  as prescribed by a physician.

 3. (Mandatory Condition)         The defendant shall not commit            October 1, 2008
                                  another federal, state, or local
                                  crime

 6. (Standard Condition #8)       the defendant shall refrain from         November 7, 2008
                                  excessive use of alcohol and
                                  shall not purchase, possess,
                                  use, distribute or administer any
                                  controlled substance or any
                                  paraphernalia related to any
                                  controlled substances, except
                                  as prescribed by a physician.

 7. (Standard Condition #8)       the defendant shall refrain from          January 29, 2009
                                  excessive use of alcohol and
                                  shall not purchase, possess,
                                  use, distribute or administer any
                                  controlled substance or any
                                  paraphernalia related to any
                                  controlled substances, except
                                  as prescribed by a physician.
8:94-cr-00095-RGK-CRZ             Doc # 785       Filed: 02/06/09       Page 2 of 6 - Page ID # 161


 8. (Special Condition #2)            The defendant shall attend, pay           January 28, 2009
                                      for and successfully complete
                                      any diagnostic evaluation,
                                      treatment or counseling
                                      program, or approved support
                                      group (e.g., AA/NA) for alcohol
                                      and/or controlled substance
                                      abuse, as directed by the Untied
                                      States Probation Officer.
Original Offense: Conspiracy with intent to distribute methamphetamine in violation of 21 U.S.C. 846 and
Financial Transactions affecting Interstate and Foreign Commerce in violation of 18 USC 1956(a)(1)(B)(ii).

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Allegations 1, 4, and 5 of the second amended second petition and the amended second petition
are dismissed on the motion of the United States as to this defendant only.

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                       Date of Imposition of Sentence:
                                                                                     February 4, 2009

                                                                           s/ Richard G. Kopf
                                                                           United States District Judge

                                                                              February 6, 2009
8:94-cr-00095-RGK-CRZ              Doc # 785     Filed: 02/06/09      Page 3 of 6 - Page ID # 162


Defendant: Michael J. Crestoni                                                                Page 3 of 6
Case Number: 8:94CR95



                                          IMPRISONMENT

      It is ordered defendant’s term of supervised release is revoked. The defendant is hereby
committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
twenty-four (24) months.

The Court makes the following recommendations to the Bureau of Prisons:

1.        That the defendant be incarcerated at a camp-like facility such as the one at Yankton, South
          Dakota.

The defendant is remanded to the custody of the United States Marshal.


                                 ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                                _____________________________
                                                                        Signature of Defendant

                                               RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                         __________________________________
                                                                UNITED STATES WARDEN


                                                      By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                           CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                         __________________________________
                                                                UNITED STATES WARDEN


                                                       By:_________________________________
8:94-cr-00095-RGK-CRZ             Doc # 785      Filed: 02/06/09      Page 4 of 6 - Page ID # 163


Defendant: Michael J. Crestoni                                                                Page 4 of 6
Case Number: 8:94cr95


                                 SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term
of three (3) years.

        While on supervised release, the defendant shall not commit another Federal, state, or local
crime and shall comply with the standard conditions that have been adopted by this court (set forth
on the following page.) If this judgment imposes a restitution obligation, it shall be a condition of
supervised release that the defendant pay any such restitution that remains unpaid at the
commencement of the term of supervised release. The defendant shall comply with the following
additional conditions:

1.        The defendant shall submit to testing, as may be requested by any person involved in
          monitoring the defendant’s supervision, to detect the presence of alcohol and/or controlled
          substances in the defendant’s body fluids and to determine whether the defendant has
          reverted to the use of any prohibited substances.

2.        The defendant shall attend, pay for, and successfully complete any diagnostic evaluation,
          treatment or counseling program, or approved support groups (e.g., AA/NA) for alcohol
          and/or controlled substance abuse, as directed by the U.S. Probation Officer.

3.        The defendant shall be subject to search and seizure of the defendant's premises, vehicle
          or person, whether during the day or night, with or without a warrant, at the request
          of the United States Probation Officer to determine the presence of alcohol and/or
          controlled substances, firearms, or any other contraband. Any such items found may
          be seized by the United States Probation Officer.    This condition may be invoked with or
          without the cooperation of law enforcement officers.

4.        As required by 18 U.S.C. § 3583(d), and within fifteen (15) days after the defendant’s
          release from imprisonment, the defendant shall, as a condition of supervised release,
          submit to and pay for a drug test and shall submit to and pay for at least two (2) periodic
          drug tests thereafter, as ordered by the probation officer, to determine whether the
          defendant is using, or has used, a controlled substance.

5.        Paragraph #8 of the Standard Conditions of Supervision is modified, i.e., instead of
          merely refraining from excessive use of alcohol, the defendant shall not purchase or
          possess, use, distribute, or administer any alcohol, just the same as any other narcotic or
          controlled substance.

6.        The defendant shall not possess a dangerous weapon.

7.        Defendant shall provide the United States Probation Officer with access to any requested
          financial information.

8.        Defendant shall report to the Supervision Unit of the United States Probation Office for the
          District of Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza,
          Suite C79, Omaha, Nebraska, (402) 661-7555 within seventy-two (72) hours of release
          from confinement and every time thereafter as directed and ordered by the probation officer.
       8:94-cr-00095-RGK-CRZ                Doc # 785   Filed: 02/06/09      Page 5 of 6 - Page ID # 164


       Defendant: Michael J. Crestoni                                                                 Page 5 of 6
       Case Number: 8:94CR95


                                        STANDARD CONDITIONS OF SUPERVISION

                 While the defendant is on probation or supervised release pursuant to this Judgment:

1)    the defendant shall not commit another Federal, state or local crime;
2)    the defendant shall not leave the judicial district without the permission of the court or probation
      officer;
3)    the defendant shall report to the probation officer as directed by the court or the probation officer and
      shall submit a truthful and complete written report within the first five days of each month;
4)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
      of the probation officer;
5)    the defendant shall support his or her dependents and meet other family responsibilities.
6)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for
      schooling, training, or other acceptable reasons;
7)    the defendant shall notify the probation officer prior to any change in residence or employment;
8)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
      distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to
      such substances, except as prescribed by a physician;
9)    the defendant shall not frequent places where controlled substances are illegally sold, used,
      distributed, or administered.
10)   the defendant shall not associate with any persons engaged in criminal activity, and shall not
      associate with any person convicted of a felony unless granted permission to do so by the probation
      officer;
11)   the defendant shall permit a probation officer to visit the defendant at any time at home or elsewhere
      and shall permit confiscation of any contraband observed in plain view by the probation officer;
12)   the defendant shall notify the probation officer within seventy-two hours of being arrested or
      questioned by a law enforcement officer;
13)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law
      enforcement agency without the permission of the court;
14)   as directed by the probation officer, the defendant shall notify third parties of the risks that may be
      occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
      the probation officer to make such notifications and to confirm the defendant's compliance with such
      notification requirements;
15)   the defendant shall not own, possess or control any firearms or ammunition.
16)   the defendant shall pay any fine or restitution obligation imposed by this judgment that remains
      unpaid at the commencement of the term of probation or supervised release in accordance with the
      payment schedule set forth in the Financial Penalties sheet of this judgment.

These conditions are in addition to any other conditions imposed by this Judgment.
            8:94-cr-00095-RGK-CRZ            Doc # 785         Filed: 02/06/09   Page 6 of 6 - Page ID # 165


Defendant: Michael J. Crestoni                                                                       Page 6 of 6
Case Number: 8:94CR95



                                       CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of
payments set forth in this judgment.

                       Assessment                       Fine                          Restitution
Totals:               $100.00 (PAID)                $                             $




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
